                    Case 17-30112            Doc 1       Filed 03/01/17 Entered 03/01/17 08:13:25                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NORTH DAKOTA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Vanity Shop of Grand Forks, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Vanity
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2222 7th Avenue North, Unit 100                                 PO Box 547
                                  Fargo, ND 58102                                                 Fargo, ND 58107-0547
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cass                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.vanity.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Vanity Shop of Grand Forks, Inc.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4481

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   Vanity Shop of Grand Forks, Inc.                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Vanity Shop of Grand Forks, Inc.                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 1, 2017
                                                  MM / DD / YYYY


                             X   /s/ James Bennett                                                        James Bennett
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chairman of the Board of Directors




18. Signature of attorney    X   /s/ Caren W. Stanley                                                      Date March 1, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Caren W. Stanley
                                 Printed name

                                 Vogel Law Firm
                                 Firm name

                                 218 NP Avenue
                                 P. O. Box 1389
                                 Fargo, ND 58107-1389
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (701) 237-6983                Email address


                                 06100
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Vanity Shop of Grand Forks, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NORTH DAKOTA                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 26 Int'l                        Moti Reuben                     Merchandise                                                                                            $117,767.58
 1500 S. Griffith Ave
 Los Angeles, CA                 moti@26internatio
 90021                           nal.com
                                 213-745-4224
 Anfield Apparel                 Benjamin Cry                    Merchandise                                                                                            $248,591.88
 Group
 20851 Currier Road
 Walnut, CA 91789
 Brand Headquarters              Jay Randhawa                    Merchandise                                                                                              $63,234.99
 LLC
 16516 Via Esprillo
 Suite 100                       858-824-2999
 San Diego, CA
 92127
 Cavalini Inc.                   Carlo Radua                     Merchandise                                                                                            $169,005.48
 DBA CI SONO
 1536 South Alameda              carlo.cavalini@gm
 St                              ail.com
 Los Angeles, CA                 213-725-5111
 90021
 Chengda Int'l Co.,              Yun Jiang                       Merchandise                                                                                            $176,658.75
 LTD
 No. 71 Renmin Road              jiangyun@chendga
 Dalian, China                   .com
                                 86-411-82512358
 Jiangsu Guotai                                                  Merchandise                                                                                              $95,044.10
 Huasheng Industrial
 Co.                 86-512-86312522
 East of 8 Floor
 Guotai New Century
 Plaza Building
 No. 125 Middle
 Renmin Road
 Zhangjiagang City,
 Jiangsu, China




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Vanity Shop of Grand Forks, Inc.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jiangsu Sainty                                                  Merchandise                                                                                              $83,455.80
 Glorious Trade Co.,             tina@saintygloriou
 Ltd                             s.com
 5th Floor, Building A           025-69638176
 #21 Softwear
 Avenue
 Yuhua District,
 Nanjing, China
 JouJou BBC                      Robert Acampora                 Merchandise                                                                                              $70,909.23
 Apparel
 1407 Broadway,                  racampora@joujou
 Suite 507                       .com
 New York, NY 10018              212-997-2293
 Kash Apparel LLC                Sol              Merchandise                                                                                                           $109,814.88
 1929 Hooper Ave
 Los Angeles, CA                 sol@kashapparel.c
 90011                           om
                                 213-747-8885
 Majco                                                           Merchandise                                                                                              $82,530.60
 1200 Jules Poitras,             apinvoices@majco.
 #100                            com
 St. Laurent, QC H4N             514-956-0322
 1X7
 Canada
 Mallory Alexander               Joe Mezzina                     Customs                                                                                                  $82,043.35
 International                                                   Broker/Freight
 Logistic                                                        Forwarder
 777 Sunrise                     516-371-1700
 Highway, Suite 301
 Lynbrook, NY 11563
 Maran                           Theresa Feng                    Merchandise                                                                                              $69,598.03
 1400 Broadway 28th
 Fl                              theresa@sqz.com
 New York, NY 10018              646-278-5257
 My Michelle                     Penny Hendel                    Merchandise                                                                                            $131,209.73
 PO Box 784312
 Philadelphia, PA                penny.hendel@kell
 19178                           wood.com
                                 314-576-8525
 Ningbo Seduno                                                   Merchandise                                                                                            $127,827.60
 Import & Export Co
 97# Wujia Road                  0574-87391408
 Seduno
 Haishu District
 Ningbo, China
 SQA & KC                                                        Merchandise                                                                                            $117,095.32
 International, S.A.
 48 Avenida 7-23                 502-2437-6081/6306
 Zona3
 Apartamento A
 Colonia El Rosario
 Mixco, Guatemala


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Vanity Shop of Grand Forks, Inc.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 State of California             Ofelia Villalpando, Unpaid wages       Disputed                                                                                          $74,135.00
 Department of                   Industrial Relations from
 Industrial Relations                                 manufactuer/empl
 Labor                                                oyer:
 Commissioner's                  (213) 576-5709       Case No.
 Office                                               633-125331/OV -
 320 West 4th St.,                                    Aide Guadalupe
 Suite 450                                            Martinez-Miranda
 Los Angeles, CA                                      (Employer:
 90013                                                Fashion Party,
                                                      Inc.); $74,135
                                                      Case No.
 State of California             Jessica Urbina,      Unpaid wages      Disputed                                                                                          $83,738.50
 Department of                   Management           from
 Industrial Relations            Services Tech        manufactuer/empl
 Labor                                                oyer:
 Commissioner's                                       Case No.
 Office                          (213) 897-1442       WC-CM-208859 -
 320 West 4th St.,                                    Gabriel Catalan
 Suite 450                                            Vargas (Employer:
 Los Angeles, CA                                      AMC Apparel,
 90013                                                Inc.); $83,738.50
 Tempted                                              Merchandise                                                                                                         $81,937.95
 5630 Bandini Blvd
 Bell Gardens, CA                323-859-2480
 90201
 The Ad Art                                                      Spring Sign Kit                                                                                          $58,205.43
 Company
 3260 E 26th St
 Los Angeles, CA
 90058
 United Parcel                   Elise                           Freight Charges                                                                                        $156,292.17
 Service
 Lock Box 577
 Carol Stream, IL                800-472-5877
 60132




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                       District of North Dakota
 In re      Vanity Shop of Grand Forks, Inc.                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Shazzam! Inc.                                                       Common Stock 651                                            100%
 1001 25th St. No.
 Fargo, ND 58102


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chairman of the Board of Directors of the corporation named as the debtor in this case, declare under penalty
of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date March 1, 2017                                                          Signature /s/ James Bennett
                                                                                            James Bennett

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      District of North Dakota
 In re      Vanity Shop of Grand Forks, Inc.                                                             Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Vanity Shop of Grand Forks, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Shazzam! Inc.
 1001 25th St. No.
 Fargo, ND 58102




    None [Check if applicable]




 March 1, 2017                                                       /s/ Caren W. Stanley
 Date                                                                Caren W. Stanley 06100
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Vanity Shop of Grand Forks, Inc.
                                                                     Vogel Law Firm
                                                                     218 NP Avenue
                                                                     P. O. Box 1389
                                                                     Fargo, ND 58107-1389
                                                                     (701) 237-6983 Fax:(701) 476-7676




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